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                            IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                                )    Chapter 11
                                                      )
PGX HOLDINGS, INC., et al., 1                         )    Case No. 23-10718 (CTG)
                                                      )
                                                      )    (Jointly Administered)
                       Debtors.                       )
                                                           Objection Deadline: January 24, 2024 at 4:00 p.m.
                                                           Hearing Date: To be scheduled

      NOTICE OF FIRST AND FINAL APPLICATION FOR COMPENSATION AND
     REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES
    LLP, AS CONFLICTS COUNSEL FOR JOHN C. HEATH, ATTORNEY AT LAW PC
        D/B/A LEXINGTON LAW FIRM, FOR THE PERIOD FROM JUNE 4, 2023
                        THROUGH DECEMBER 26, 2023

         PLEASE TAKE NOTICE that on January 3, 2024, Pachulski Stang Ziehl &

Jones LLP (“PSZ&J” or the “Firm”), Conflicts Counsel for John C. Heath, Attorney at Law PC

d/b/a Lexington Law Firm (the “Lexington Law Firm”), filed the First and Final Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as

Conflicts Counsel for John C. Heath, Attorney at Law PC d/b/a Lexington Law Firm, for the

Period From June 4, 2023 Through December 26, 2023 (the “Application”) seeking fees in the

amount of $169,643.50 p l u s $ 5 , 0 0 0 . 0 0 and reimbursement of actual and necessary

expenses in the amount of $4,476.52. A copy of the Application is attached hereto.


                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580); Creditrepair.com
Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks, LLC (5256); John C.
Heath, Attorney At Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion Holdings, Inc. (7123); Progrexion IP,
Inc. (5179); Progrexion Marketing, Inc. (5073); and Progrexion Teleservices, Inc. (5110). The location of the
Debtors’ service address for purposes of these chapter 11 cases is: 257 East 200 South, Suite 1200, Salt Lake City,
Utah 84111.


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for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801

(the “Court”) on or before January 24, 2024 at 4:00 p.m. (ET).

                   The Application is submitted pursuant to the Order (I) Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Retained Professionals and (II)

Granting Related Relief, entered on July 19, 2023 [Docket No. 208] (the “Administrative

Order”).

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (a) the Debtors, PGX Holdings, Inc., 257 East

200 South, Suite 1200, Salt Lake City, UT 84111, Attn.: Eric Kamerath; (b) counsel to the

Debtors (i) Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.:

Joshua A. Sussberg, P.C., (ii) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654,

Attn.: Spencer Winters, Whitney C. Fogelberg, and Alison J. Wirtz, (iii) Klehr Harrison Harvey

Branzburg LLP, 919 North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn.:

Domenic E. Pacitti and Michael W. Yurkewicz, and (iv) Klehr Harrison Harvey Branzburg LLP,

1835 Market Street, Suite 1400, Philadelphia, Pennsylvania 19103, Attn.: Morton R. Branzburg;

(c) counsel for (i) the Prepetition First Lien Agent for the Prepetition First Lien Lenders and (ii)

the DIP Agent for the DIP Lenders, King & Spalding LLP, 1185 Avenue of the Americas, 34th

Floor, New York, New York 10036 (Attn.: Roger Schwartz, Geoffrey King, and Robert

Nussbaum); (d) counsel for the Prepetition Third Lien Agent and the Prepetition Third Lien

Lenders, Proskauer Rose LLP, 11 Times Square, New York, New York, 10036 (Attn: David M.

Hillman and Libbie B. Osaben); (e) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.: Jane M. Leamy; and (f) proposed counsel to the

Committee, (i) ArentFox Schiff LLP, 1301 Avenue of the Americas, 42nd Floor, New York,



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New York 10019, Attn.: Andrew I. Silfen and Beth M. Brownstein; (ii) ArentFox Schiff LLP,

800 Boylston Street, 32nd Floor, Boston, Massachusetts 02199, Attn.: Justin A. Kesselman; (iii)

Morris James LLP, 500 Delaware Avenue, Suite 1500, Wilmington, Delaware 19801, Attn.: Eric

J. Monzo, Brya M. Keilson, and Jason S. Levin (collectively, the “Application Recipients”).

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE

APPLICATION WILL BE HELD ON A DATE AND TIME TO BE DETERMINED

BEFORE THE HONORABLE CRAIG T. GOLDBLATT, UNITED STATES BANKRUPTCY

COURT JUDGE, AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT

OF DELAWARE, 824 MARKET STREET, 3RD FLOOR, COURTROOM NO. 7,

WILMINGTON, DELAWARE 19801. ONLY OBJECTIONS MADE IN WRITING AND

TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH

HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.


Dated: January 3, 2024               PACHULSKI STANG ZIEHL & JONES LLP


                                     /s/ Laura Davis Jones_____________________
                                     Laura Davis Jones (Bar No. 2436)
                                     Timothy P. Cairns (DE Bar No. 4228)
                                     919 North Market Street, 17th Floor
                                     Wilmington, DE 19801
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email: ljones@pszjlaw.com

                                     Conflicts Counsel for the Lexington Law Firm




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